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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

 In re:                                                                   Chapter 11

 PROMISE HEALTHCARE GROUP, LLC, et al.1                                   Case No. 18-12491 (CTG)

                      Debtors.                                            Jointly Administered

                                                                          Re: Docket Nos. 2528, 2584


       SUPPLEMENTAL ORDER SUSTAINING EIGHTH OMNIBUS OBJECTION
         (SUBSTANTIVE) OF THE LIQUIDATING TRUSTEE TO CERTAIN: (I)
      OVERSTATED CLAIMS, (II) DUPLICATIVE OR OTHERWISE REDUNDANT
      CLAIMS, (III) MISCLASSIFIED CLAIMS, AND (IV) NO LIABILITY CLAIMS

                   Upon consideration of the Eighth Omnibus Objection (Substantive) of the

Liquidating Trustee to Certain: (i) Overstated Claims, (ii) Duplicative or Otherwise Redundant

Claims, (iii) Misclassified Claims, and (iv) No Liability Claims [Docket No. 2528] (the “Eighth

Omnibus Objection”)2 and the Supplemental Certification of Counsel Regarding Eighth Omnibus

Objection (Substantive) of the Liquidating Trustee to Certain: (I) Overstated Claims, (II)


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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913),
Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp.
(6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages
Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP
Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise
Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc.
(7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise
Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of
Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise
Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls,
Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of
Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing
Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), Success
Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH
Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation
Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development
and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices and
communications, is c/o FTI Consulting, Inc., 50 California Street, Suite 1900, San Francisco, CA 94111.
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  Capitalized terms not otherwise defined shall have the meanings ascribed to them in the Eighth Omnibus
Objection.


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Duplicative or Otherwise Redundant Claims, (III) Misclassified Claims, and (IV) No Liability

Claims (the “Supplemental Certification”) filed on January 3, 2024; and the Court having found

that it has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334 and the Plan; and the

Court having found that this a core proceeding under 28 U.S.C. § 157(b); and the Court having

found that venue is proper under 28 U.S.C. §§ 1408 and 1409; and the Court having found that

the Liquidating Trustee provided appropriate notice of the Eighth Omnibus Objection and the

opportunity for a hearing under the circumstances and that no further notice need be given; and

the Court having reviewed the Eighth Omnibus Objection and the Supplemental Certification;

and upon the record herein, and after due deliberation thereon, and good and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

         1.        Claim number 663 (the “Xerox Claim”) filed by Xerox Corporation (“Xerox”) as

a general unsecured claim in the amount of $287,650.48 is hereby reduced to $223,454.41.

         2.        The official claims register in these chapter 11 cases shall be modified in

accordance with this Order.

         3.        The Liquidating Trustee’s right to amend, modify or supplement the Eighth

Omnibus Objection, to file additional objections to any other claims (filed or not) which may be

asserted, and to seek further reduction of any claim to the extent such claim has been paid, or for

any other reasons, are reserved and preserved.

         4.        All rights of the Liquidating Trustee to object to any claim at a later date,

including the claims that are the subject of the Eighth Omnibus Objection, on any basis

whatsoever, substantively or non-substantively, are reserved and preserved.

         5.        The Liquidating Trustee’s rights to use any available defenses under section 502

of the Bankruptcy Code, or otherwise, to setoff or recoup against or otherwise reduce all or any



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part of any claim are reserved. Further, any and all affirmative claims are specifically reserved

and preserved and are not adversely affected by this Order.

         6.        This Order shall be immediately effective and enforceable upon its entry.

         7.        The Liquidating Trustee is authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order.

         8.        The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




              Dated: January 4th, 2024             CRAIG T. GOLDBLATT
              Wilmington, Delaware                 UNITED STATES BANKRUPTCY JUDGE




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